Case 19-12423-CMG    Doc 51-1 Filed 08/29/22        Entered 08/29/22 14:20:20   Desc
                    Exhibit Exhibit A Stipulation   Page 1 of 4




   EXHIBIT A
   Case
  Case  19-12423-CMG Doc
       19-12423-CMG   Doc2751-1FiledFiled 08/29/22
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                                                          12/04/19    14:20:20
                                                                   11:33:12     Desc
                                                                             Desc Main
                     Exhibit Exhibit
                              DocumentA Stipulation  Page
                                              Page 1 of 3  2 of 4

  UNITED STATES BANKRUPTCY COURT
  DISTRICT OF NEW JERSEY
  Caption in Compliance with D.N.J. LBR 9004-1(b)
  Denise Carlon, Esquire
  KML Law Group, P.C.
  216 Haddon Avenue
  Suite 406                                                                 Order Filed on December 4, 2019
                                                                                        by Clerk
  Westmont, NJ 08108                                                            U.S. Bankruptcy Court
  Main Phone: 609-250-0700                                                       District of New Jersey
  dcarlon@kmllawgroup.com
  Attorneys for Secured Creditor
  PNC Bank, National Association
                                                             Case No.: 19-12423 CMG
                                                             Adv. No.:

  In Re:                                                     Hearing Date: 11/6/19 @ 9:00 a.m.
            Stephanie M. Strother,
                                                             Judge: Christine M. Gravel
  Debtor.

        ORDER CURING POST-PETITION ARREARS & RESOLVING MOTION FOR
                            RELIEF FROM STAY

        The relief set forth on the following pages, numbered two (2) through three (3) is hereby
   ORDERED.




DATED: December 4, 2019
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Case  19-12423-CMG Doc
     19-12423-CMG   Doc2751-1FiledFiled 08/29/22
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                                                                 11:33:12     Desc
                                                                           Desc Main
                   Exhibit Exhibit
                            DocumentA Stipulation  Page
                                            Page 2 of 3  3 of 4


 (Page 2)
 Debtor: Stephanie M. Strother
 Case No: 19-12423 CMG
 Caption of Order: ORDER CURING POST-PETITION ARREARS & RESOLVING MOTION FOR
 RELIEF FROM STAY
 _________________________________________________________________________________
        This matter having been brought before the Court by KML Law Group, P.C., attorneys for Secured
 Creditor, PNC Bank, National Association, Denise Carlon, Esq. appearing, upon a motion to vacate the
 automatic stay as to real property located at 307 Wimbeldon Court, North Brunswick, NJ, 08902, and it
 appearing that notice of said motion was properly served upon all parties concerned, and this Court having
 considered the representations of attorneys for Secured Creditor and Yakov Rudikh, Esq., attorney for
 Debtor, and for good cause having been shown
         It is ORDERED, ADJUDGED and DECREED that as of November 22, 2019 Debtor is in arrears
 outside of the Chapter 13 Plan to Secured Creditor for payments due July 2019 through November 2019 for a
 total post-petition default of $5,765.95 (5 @ $1,153.19); and
         It is ORDERED, ADJUDGED and DECREED that Debtor shall make an immediate payment of
 $1,153.19 immediately; and
         It is ORDERED, ADJUDGED and DECREED that Debtor shall make another payment of
 $1,153.19 to be received no later than November 30, 2019; and
          It is further ORDERED, ADJUDGED and DECREED that the balance of the arrears in the
 amount of $3,459.57 will be paid by Debtor remitting $576.59 per month for five months and $576.52 for
 one month in addition to the regular monthly mortgage payment, which additional payments shall begin on
 December 1, 2019 and continue for a period of six months until the post-petition arrears are cured; and
         It is further ORDERED, ADJUDGED and DECREED that regular mortgage payments are to
 resume December 1, 2019, directly to Secured Creditor, PNC Bank, National Association, Attn: Bankruptcy,
 3232 Newmark Drive, Miamisburg, OH 45342 (Note: the amount of the monthly mortgage payment is
 subject to change according to the terms of the note and mortgage); and
         It is further ORDERED, ADJUDGED and DECREED that for the Duration of Debtor’s Chapter
 13 bankruptcy proceeding, if the lump sum payment or any regular monthly mortgage payments are not made
 within thirty (30) days of the date said payment is due, Secured Creditor may obtain an Order Vacating
 Automatic Stay as to Real Property by submitting a Certification of Default to the Court indicating such
 payment is more than thirty days late, and Debtor shall have fourteen days to respond; and
         It is further ORDERED, ADJUDGED and DECREED that a copy of any such application,
 supporting certification, and proposed Order must be served on the Trustee, Debtor, and Debtor’s counsel at
 the time of submission to the Court; and
 Case
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                   Exhibit Exhibit
                            DocumentA Stipulation  Page
                                            Page 3 of 3  4 of 4


 (Page 3)
 Debtor: Stephanie M. Strother
 Case No: 19-12423 CMG
 Caption of Order: ORDER CURING POST-PETITION ARREARS & RESOLVING MOTION FOR
 RELIEF FROM STAY
 _________________________________________________________________________________

         It is further ORDERED, ADJUDGED and DECREED that Secured Creditor is hereby awarded
 reimbursement of fees and costs in the sum of $350.00 for attorneys’ fees and $181.00 for filing fees, totaling
 $531.00, which is to be paid through Debtors’ Chapter 13 plan; and
         It is further ORDERED, ADJUDGED and DECREED that Secured Creditor’s Motion for Relief
 is hereby resolved.
